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                   EXHIBIT 3
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INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES




        BSG Resources Limited, BSG Resources (Guinea) Limited and
                     BSG Resources (Guinea) SARL

                                       v.

                              Republic of Guinea

                         (ICSID Case No. ARB/14/22)



                       PROCEDURAL ORDER NO. 9
                          Pre-Hearing Matters

         Professor Gabrielle Kaufmann-Kohler, President of the Tribunal
                  Professor Albert Jan van den Berg, Arbitrator
                       Professor Pierre Mayer, Arbitrator

                           Secretary of the Tribunal
                             Mr. Benjamin Garel

                           Assistant to the Tribunal
                           Dr. Magnus Jesko Langer



                                 15 April 2017
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I.      PROCEDURAL BACKGROUND

 1.     On 10 April 2017 in accordance with Procedural Order No. 1 (“PO1”), as amended on
        5 January 2017, the Tribunal and the Parties held a pre-hearing telephone conference to
        discuss the organization of the hearing (the “Hearing”).

 2.     The following persons attended the conference call:

        Tribunal

        Professor Gabrielle Kaufmann-Kohler, President of the Tribunal
        Professor Albert Jan van den Berg, Arbitrator
        Professor Pierre Mayer, Arbitrator

        Mr. Benjamin Garel, Secretary

        Dr. Magnus Jesko Langer, Assistant

        Claimants

        Mr. Karel Daele                        Mishcon de Reya
        Ms. Deepa Somasunderam                 Mishcon de Reya
        Mr. Jack Burstyn                       Mishcon de Reya

        Respondent

        Mr. Laurent Jaeger                     Orrick Herrington & Sutcliffe
        Mr. Yann Schneller                     Orrick Herrington & Sutcliffe
        Mr. Michael Ostrove                    DLA Piper
        Mr. Théobald Naud                      DLA Piper

 3.     The conference started at 12:00 CET and was adjourned at 13:15 CET.

 4.     The Tribunal and the Parties discussed the items set out in the draft of this procedural
        order, which had been circulated on 7 April 2017 and other matters raised by the
        Parties during the conference call. The conference call was held in English only, with
        the Parties’ consent.

 5.     An audio recording of the session was made and deposited in the archives of ICSID.
        The recording was subsequently uploaded to Box folder established for the case for
        access by the Members of the Tribunal and the Parties.

 6.     On this basis, the Tribunal now issues this order in final form.




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II.    ORGANIZATION OF THE HEARING

 A.    Location

 7.    The Hearing will be held at the following venue:

       World Bank – Paris
       66, avenue d’Iéna
       75116 Paris, France

 B.    Schedule

 8.    The Hearing is scheduled to take place from 22 May to 2 June 2017, with 3 June 2017
       as a reserve date. The Parties are invited to liaise and revert to the Tribunal by 5 May
       2017 regarding the expected duration of the Hearing.

 9.    The Hearing shall commence at 9:30 and proceed until approx. 18:00, subject to any
       adjustment required by the course of the examinations, with a one hour lunch break and
       at least two coffee breaks.

 C.    Attendance

 10.   Each Party shall inform ICSID by 12 May 2017 of the members of its delegation.

 D.    Oral Statements

 11.   The Parties may present opening statements of 3 hours each. The Parties may further
       present short opening statements of max. 15 minutes each at the beginning of each
       hearing day to introduce the evidence to be heard during the day, and deal with any
       procedural or substantive matter raised the day before or otherwise arising ("mini-
       openings").

 12.   The Parties will not present closing statements. At the end of the Hearing, the Tribunal
       may hold a session allowing counsel to answer Tribunal questions orally. The Tribunal
       will give further directions in this regard in the course of the Hearing.

 E.    Documentation

 13.   Each Party shall endeavor to provide to the Tribunal (3 copies), the Secretary of the
       Tribunal (1 copy), the Assistant to the Tribunal (1 copy), the interpreters (3 copies) and
       the opposing Party (3 copies):

           A list and a bundle of redacted documents pursuant to Procedural Order No. 2
            (“PO2”) to be used during the Hearing, in electronic copy, by 12 May 2017.

           Witness and expert examination bundles to be provided at the beginning of each
            witness or expert examination. Redacted documents or parts thereof are to be
            highlighted in yellow. Bundles of direct examination need only be provided if


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              new developments have occurred after the witness’ or expert’s last written
              statement that the Party presenting the witness or the expert wishes to introduce
              on the basis of documents.

14.   The Parties may use demonstrative exhibits (such as charts, tabulations, etc. compiling
      information which is on record but not presented in such form), provided that they (i)
      identify the source in the record from which the information is derived, (ii) do not
      contain information not in the record, and (iii) are filed in electronic format by 19 May
      2017 at 6:00 pm if they are part of the opening statements or by 8:00 pm on the eve of
      the day of their use if used in the course of the Hearing. Hard copies shall be submitted
      prior to their use (in the number specified in paragraph 13).

15.   The Parties may use PowerPoint or other slide presentations for their oral statements
      and, subject to the rule on demonstrative exhibits in paragraph 14, shall submit hard
      copies (in the number specified in paragraph 13) prior to the beginning of the statement
      and electronic copies later during the same day. The same applies to presentations
      made by non-legal experts in lieu of direct examinations.

16.   Documents that do not form part of the record may not be presented at the Hearing,
      unless otherwise agreed by the Parties or authorized by the Tribunal.

F.    Order of Appearance of Witnesses and Experts

17.   Witness and expert examinations shall be governed by sections 18 and 19 of PO1,
      subject to any different rule in this Order.

18.   The witnesses and experts shall appear in the following order:

      (i)       Claimants’ fact witnesses, in the order to be determined by Claimants (see
                paragraph 20);

      (ii)      Claimants’ expert;

      (iii)     Respondent’s fact witnesses, in the order to be determined by Respondent (see
                paragraph 20).

19.   The Parties are invited to consult on the availability of witnesses during the Hearing,
      either in person or by videoconference, and to inform the Tribunal by 24 April 2017,
      being specified that the Tribunal prefers hearing the witnesses in person if possible.
      The Parties are further invited to liaise with the Secretariat on technical matters, if any.

20.   The Parties are invited to consult with each other with a view to establishing a detailed
      scheduling proposal indicating the order of appearance of witnesses, the date and
      approximate time at which each witness or expert will appear, being understood that
      the witnesses and experts will have to be available one half day before and after the
      scheduled time. The Parties are requested to submit such proposal to the Tribunal by
      5 May 2017.




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G.     Sequestration

21.    In accordance with paragraph 18.16 of PO1, unless the Parties and the Tribunal agree
       otherwise, fact witnesses shall not be allowed in the hearing room before giving their
       oral evidence with the exception of party representatives. They shall not be given
       access to the audio recordings and the transcripts of the opening statements and the
       examinations of the other witnesses before being heard. Where a Party presents one or
       more of its representatives as a fact witness, one of these Party representatives shall be
       allowed in the hearing room at all times provided that she/he gives her/his oral
       evidence first when the examination of witnesses of her/his party starts. The Parties are
       requested to identify the party representative appearing as a fact witness, if any, by 24
       April 2017.

22.    Experts may attend the Hearing at any time.

H.     Format and Scope of Examinations

23.    The format and scope of witness and expert examinations shall be governed by
       paragraphs 18.15, 18.17, and 19.7 of PO1.

I.    Allocation of Time

24.    In accordance with paragraph 21.5 of PO1, the Parties will have an equal time
       allocation to examine witnesses and/or experts at the Hearing, subject to adjustments if
       due process so requires.

25.    The maximum time available for the Parties is 6h on the first day devoted to opening
       statements. After deduction of time for procedural matters and Tribunal questions,
       including the procedural discussion at the end of the Hearing and the closing question
       session, the maximum total time for witness and expert examination is 39h if the
       Hearing lasts until 2 June, being specified that each hearing day comprises five hours
       of time reserved for the Parties.

26.    Time spent on the short opening statements (see paragraph 11) shall be counted toward
       the each Party’s time.

27.    Time spent on direct and re-direct examination shall be counted toward the time
       account of the Party presenting the witness or expert. Time spent on cross-examination
       shall be counted toward the time account of the Party conducting the cross-
       examination.

28.    Time spent on questions from the Tribunal, answers to those questions, and procedural
       interventions by the Tribunal shall not be counted against each Party’s time.

29.    The Secretary of the Tribunal shall keep a record of each Party’s use of time in
       accordance with the chess clock method and shall report at the end of each day.




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III.      LOGISTICS

   A.     Language

   30.    Language at the hearing shall be governed by paragraphs 12.7 to 12.9 of PO1.

   31.    In accordance with paragraph 12.8, the Parties shall notify ICSID and the Tribunal by
          24 April 2017 at the latest in which language each witness will testify.

   32.    The ICSID Secretariat shall arrange for interpretation services to be provided during
          the hearing

   B.     Transcripts and Sound Recordings

   33.    Transcripts and sound recording shall be governed by paragraphs 22.1 to 22.3 of PO1.

   34.    Testimony given in a language other than French or English language will be
          transcribed from the English or French interpretation and sound recorded in the original
          language.

   35.    The ICSID Secretariat shall arrange for sound recording and for court reporting
          services and shall liaise with the Parties accordingly.

   C.     Transparency and Video Recordings

   36.    In accordance with PO2, the Hearing shall be public. To facilitate public access to the
          Hearing:

          (i)     The Hearing will be broadcast and made publicly accessible by video link on
                  the ICSID website. An audio-video recording will also be made of hearings.

          (ii)    For logistical reasons, physical attendance by third persons shall be subject to
                  the Tribunal’s approval. The ICSID Secretariat shall place a notice of public
                  hearing on its website and set a time limit for interested persons to request
                  admission at the Hearing, after which the Tribunal will decide.

          (iii)   At any time during the Hearing, a Party may request that a part of the hearing
                  be held in private and that the broadcast of the hearing be temporarily
                  suspended or that protected information be excluded from the broadcast. To the
                  extent possible, a Party shall inform the Tribunal before raising topics where
                  confidential or protected information could reasonably be expected to arise,
                  applying the red card/green card system. The Tribunal will then consult the
                  Parties. Such consultation shall be held in camera and the transcript shall be
                  marked “confidential”. After consultation with the Parties, the Tribunal will
                  decide whether to exclude the information in question from the broadcast; if so,
                  and relevant portion of the transcript shall be marked “confidential”. The
                  transcript made public by the Repository shall redact those portions of the
                  hearing marked “confidential”.


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         (iv)   If the hearing room in the World Bank Paris offices is technically equipped to
                do so, the broadcast will be delayed by 60 minutes so as to avoid the broadcast
                of confidential information not previously identified by the Parties.

         (v)    The ICSID Secretariat will make the technical arrangements to implement
                public access as set out in this section.

  D.     Other logistical aspects

  37.    The ICSID Secretariat will liaise with the Parties on other logistical aspects (set up,
         catering, etc.).

IV.      POST-HEARING BRIEFS

  38.    At the conclusion of the Hearing, in consultation with the Parties, the Tribunal will
         determine the time limits, format, and content of the post-hearing briefs and issue
         directions on statements of costs.




                                 For and on behalf of the Tribunal



                                              [Signed]
                                     _____________________
                                    Gabrielle Kaufmann-Kohler
                                     President of the Tribunal
                                       Date: 15 April 2017




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